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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
 ______________________________________________________________________________

 ROWVAUGHN WELLS, Individually
 and as Administratrix Ad Litem of the
 Estate of Tyre Deandre Nichols, deceased.

        Plaintiff,

 v.                                                            Case No. 2:23-cv-02224-MSN-atc
                                                               JURY DEMAND
 THE CITY OF MEMPHIS, a municipality;
 CHIEF CERELYN DAVIS, in Her Official
 Capacity; EMMITT MARTIN III, in His
 Individual Capacity; DEMETRIUS HALEY,
 in His Individual Capacity; JUSTIN SMITH,
 in His Individual Capacity; DESMOND MILLS,
 JR., in His Individual Capacity; TADARRIUS
 BEAN, in His Individual Capacity; PRESTON
 HEMPHILL, in His Individual Capacity;
 ROBERT LONG, in His Individual Capacity;
 JAMICHAEL SANDRIDGE, in His Individual
 Capacity; MICHELLE WHITAKER, in Her
 Individual Capacity; and DEWAYNE SMITH,
 in His Individual Capacity and as an Agent of the
 City of Memphis,

       Defendants.
 ______________________________________________________________________________

      ORDER REGARDING BROADCASTING, TELEVISING, RECORDING OR
                PHOTOGRAPHING COURTROOM PROCEEDINGS
 ______________________________________________________________________________

        Pursuant to Local Rule 83.2 and Federal Judicial Conference Policy, any broadcasting,

 televising, recording, or photographing of the proceedings in this case is strictly prohibited.

        A conference on September 15, 2023 at 9:30 a.m. will be conducted as a video proceeding

 via TEAMS. Public access will be available. If the public and/or media wish to attend the video

 proceeding,    please    use     the   following     link    to    request    access    information:
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 https://www.tnwd.uscourts.gov/videohearings. The access information will be delivered via email

 to the email address from which the request originated.

        Any broadcasting, televising, recording, or photographing of the proceedings in violation

 of this Order will constitute contempt of Court and will be adjudicated accordingly.

        IT IS SO ORDERED, this 15th day of September, 2023.

                                                     s/ Mark S. Norris
                                                     MARK S. NORRIS
                                                     UNITED STATES DISTRICT JUDGE




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